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MINUTE ENTRY
MILAZZO, J.
DECEMBER 14, 2021


 JS-10: 01:25

                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

CATHERINE BROWN                                         CIVIL ACTION

VERSUS                                                  NO. 21-1844

MINYANGO TOKPAH ET AL                                   SECTION "H" (1)



                  PRELIMINARY INJUNCTION HEARING
                U.S. District Judge Jane Triche Milazzo presiding

CASE MANAGER: ERIN MOULEDOUS
COURT REPORTER: CATHY PEPPER
LAW CLERK: DAVID JUDD

APPEARANCES: DOMINIC VARRECCHIO, FOR PLAINTIFF


Court begins at 10:15 a.m.
Plaintiff’s counsel makes his appearance on the record.
Plaintiff, Catherine Brown, present in court.
No appearances made on behalf of defendants.
Catherine Brown testifies under oath.
This matter is taken under submission.
Post-hearing briefing is due no later than 21 days from the date of this minute
entry.
Court adjourned at 11:40 a.m.

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